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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


   Students for Fair Admissions, Inc.
                    Plaintiff

             v.                                CIVIL ACTION NO.       14-14176-ADB


   President and Fellows of Harvard College
                  Defendant


                            JUDGMENT IN A CIVIL CASE

Burroughs, D.J.


_____        Jury Verdict. This action came before the court for a trial by jury. The
             issues have been tried and the jury has rendered its verdict.

__X___       Decision by the Court. This action came to Bench Trial before the Court.
             The issues have been tried or heard and a decision has been rendered
             pursuant to the FINDINGS OF FACT AND CONCLUSIONS OF LAW
             entered September 30, 2019.

      IT IS ORDERED AND ADJUDGED: Judgment for the Defendant President
and Fellows of Harvard College (Harvard Corporation).




                                                       ROBERT M. FARRELL
                                                       CLERK OF COURT


                                                       /s/ Christina McDonagh
Dated: September 30, 2019                         By
                                                       Deputy Clerk
